   Case: 2:15-cr-00235-MHW Doc #: 74 Filed: 10/28/15 Page: 1 of 2 PAGEID #: 110
                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA                            :       No. 2:15-CR-235
                                                    :
                               Plaintiff,           :
       vs.                                          :       JUDGE MICHAEL H. WATSON
                                                    :
MARK A. EUBANKS                                     :
                                Defendant.          :

                                 NOTICE TO DEFENDANT

       The United States Attorney for the Southern District of Ohio, through the undersigned

Assistant U.S. Attorney, hereby gives notice to the defendant, MARK A EUBANKS, pursuant to

21 U.S.C. '851 and 21 U.S.C. '841(b)(1)(A), that the government intends, for sentencing

purposes, to rely on the following previous drug felony conviction of defendant should the

defendant be convicted of any violation of the Controlled Substances Act alleged in the Indictment

herein: On or about March 18, 2009, in the Court of Common Pleas of Scioto County, Ohio, in

case #09-CR191, the defendant, MARK A. EUBANKS, was sentenced to a consecutive terms of

imprisonment of three years, twelve months, and six months, following his convictions for three

counts of Trafficking in Drugs/Heroin, in violation of Ohio Revised Code '2925.03, felonies of

the second, third and fourth degrees (Certified copy of Judgment Entry of Sentence attached as

Exhibit A).

                                                    Respectfully submitted,

                                                    CARTER M. STEWART
                                                    United States Attorney

                                                    s/Michael J. Hunter
                                                    MICHAEL J. HUNTER (0076815)
                                                    Assistant United States Attorney
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                                       CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing notice of prior conviction, pursuant to 21 U.S.C. 851 was

served this 28th day of October, 2015, electronically on: Keith Yeazel, attorney for Mark A. Eubanks.



                                                    s/Michael Hunter
                                                    MICHAEL J. HUNTER (0076815)
                                                    Assistant United States Attorney
